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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                   EL PASO DIVISION

JESUS YANEZ,                                   §
                                               §
       Plaintiff,                              §
v.                                             §               EP-21-CV-00073-DCG
                                               §
WALGREENS CO.,                                 §
                                               §
       Defendant.                              §

     RESPONSE IN OPPOSITION TO DEFENDANT’S MOTION FOR SUMMARY
                              JUDGMENT

       Plaintiff asks the Court to deny Walgreens’ motion for summary judgment (Doc. 20) that

failed as matter of law because it failed to articulate sufficiently a nondiscriminatory reason for the

discharge of Plaintiff and even if it did the motion failed again as a matter of law because there is

substantial evidence of pretext. The real reason Walgreens discharged Plaintiff and replaced him

with someone in their 30s was motivated by Plaintiff’s age.

I.     Introduction

       Walgreens employed Plaintiff Yanez for more than 21 years until Walgreens discharged

Yanez in May 2020 purportedly for removing Walgreens’ trash, after Walgreens explicitly

authorized Yanez to remove Walgreens’ trash, in compliance with the practice and policy of

Walgreens of placing trash outside and allowing anyone, including employees, to remove the

discarded trash.

       At the time of Plaintiff’s discharge in 2020, Froylan Villanueva contended that Yanez was

discharged because he exposed Walgreens to liability, but such contention was vague, broad, and

unexplained. In January 2022, Villanueva contended that Yanez was not discharged for removing

Walgreens’ trash, but because a ticket should have been opened and that Yanez benefited from



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Walgreen’s trash, but these contentions were also vague and broad. In February 2022, Villanueva

contended for the first time that Yanez violated three policies, but these contentions were also

vague and broad.

       As shown in this response, there is substantial evidence that all of the purported reasons

for the discharge of Yanez were pretext.

II.    Analysis and Authority

Summary Judgment Standard

       This Court is very aware of the summary judgment standard. See Burns v. McAleenan,

No. EP-17-CV-00264-DCG, 6 (W.D. Tex. 2019).

       “The Fifth Circuit has made it clear that summary judgment is strongly disfavored in Title

VII actions.” Fierros v. Tex. Dep't of Health, 274 F.3d 187, 190-91 (5th Cir. 2001). The Supreme

Court has “emphasized the paramount role that juries play in Title VII cases, stressing that in

evaluating summary judgment evidence, courts must refrain from the making of ‘credibility

determinations, the weighing of the evidence, and the drawing of legitimate inferences from the

facts,’ which ‘are jury functions, not those of a judge.’” Fierros at 190-191, (citing Reeves v.

Sanderson Plumbing Prods., Inc., 530 U.S. 133, 150, (2000)); see Burns at 6.

       Summary procedures are to be used sparingly in cases: ...where motive and intent play

leading roles, the proof is largely in the hands of the alleged conspirators, and hostile witnesses

thicken the plot. It is only when the witnesses are present and subject to cross-examination that

their credibility and the weight to be given their testimony can be appraised. Trial by affidavit is

no substitute for trial by jury which so long has been the hallmark of even-handed justice. Fortner

Enterprises, Inc. v. U.S. Steel Corp., 394 U.S. 495, 500 (1969) (internal citations omitted).

Summary judgment is ill-suited for credibility determinations and is an inadequate procedure for



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sorting out questions of motivation.         Honore v. Douglas, 833 F.2d 565 (5th Cir.1987);

Thornbrough v. Columbus & Greenville R. Co., 760 F.2d 633, 640 (5th Cir.1985)

        Discrimination cases rarely involve overt “direct evidence” such as openly discriminatory

statements by the decision makers. “Today, employers, and their supervisors, who might choose

to discriminate . . . have become, as a result of twenty years of Title VII litigation, too sophisticated

to use . . Instead, the motive is veiled behind apparently neutral remarks about business necessity,

an employee's inadequate performance, attitude and the like.” Barnes v. Yellow Freight Sys., Inc.,

778 F.2d 1096, 1101 (5th Cir. 1985); see also United States Postal Serv. Bd. of Governors v.

Aikens, 460 U.S. 711, (discrimination cases present difficult issues for the trier of fact as “[t]here

will seldom be 'eyewitness' testimony as to the employer's mental processes”); Mission Consol.

Indep. Sch. Dist. v. Garcia, 372 S.W.3d 629, 634 (Tex. 2012) (recognizing that “motives are often

more covert than overt, making direct evidence of forbidden animus hard to come by”).

Burden Shifting Analysis

        As a result, in cases like this one, Yanez can establish his claim of age discrimination and

defeat motions for summary judgment based on circumstantial evidence including the substantial

evidence that Walgreens’ stated reason for terminating Yanez was false or “pretextual” through

the burden shifting analysis set out by the United States Supreme Court in McDonnell Douglas

Corp. v. Green, 411 U.S. 792 (1973). See Burns at 9.

        Walgreens did not contend that Yanez cannot make a prima facie case of discrimination.

For thoroughness, here is his prima facie case. Yanez is a member of a protected class, over age

40. Yanez was qualified for position as Walgreens employed him in the position for 20 years.

Walgreens subjected Yanez to adverse employment action, discharge. Doc. 20-15. Walgreens

replaced Yanez with someone outside the protected class, under 40 years old. Ex. 16.



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       A.      Walgreens’ Motion failed as a matter of law because it did not sufficiently
articulate a legitimate, non-discriminatory reason for its decision to terminate Yanez.

        “[T]o rebut an employee’s prima facie case, a defendant employer must articulate in some

detail a more specific reason than its own vague and conclusional feeling about the employee.”

Patrick v. Ridge, 394 F.3d 311, 317 (5th Cir. 2004). See Burton v. Freescale Semiconductor, Inc.,

798 F.3d 222, 231 (5th Cir. 2015) (“[T]o meet its burden of production under McDonnell Douglas,

an employer must articulate a nondiscriminatory reason with ‘sufficient clarity’ to afford the

employee a realistic opportunity to show that the reason is pretextual.’)

        All of the shifting reasons lodged over the years were vague, conclusory, and without

sufficient clarity.

       B.     Despite Walgreen’s failure to articulate sufficiently a legitimate, non-
discriminatory reason for the discharge of Yanez, Walgreens’ Motion failed again as a
matter of law because there is substantial evidence that all of the shifting, vague, conclusory,
and obscure purported bases for the discharge of Yanez were pretext.

        1.      Pretext.

        In order to establish that he was terminated because of his age, Yanez may rely on evidence

that the employer’s legitimate, nondiscriminatory reason was only a pretext—that is, a false or

weak reason advanced to hide the actual reason. See Burns at 16-17.

        2.      There is no limit to evidencing pretext.

        The United States Supreme Court has made clear that (1) an employee is “not limited to

presenting evidence of a certain type,” and (2) pretext evidence “may take a variety of forms.”

Patterson v. McLean Credit Union, 491 U.S. 164, 187 (1989), superseded by statute in part on

other grounds, 42 U.S.C. § 1981(b); accord Ellerbrook v. City of Lubbock, 465 Fed. Appx. 324,

333 (5th Cir. 2012) (per curiam) (unpublished).




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       3.     All of the shifting, vague, conclusory, and obscure purported explanations for
the discharge of Yanez were not true, were false, and not believable.

                a.     The newly purported bases in 2022 for the discharge of Yanez in 2020,
that a ticket should have been opened and that there was a violation of the waste disposal policy,
are not true, are false, and not believable, because since prior to 2010 to present day the policy
of Walgreens in El Paso was that discarded rollers are trash for anyone to remove without a
ticket opened for StoreCare to remove the trash.

       Since prior to 2010 the trash policy of Walgreens was to allow stores to elect to place trash,

including rollers, outside by the dumpster, instead of being charged. Ex. 11 Dep. EM 20:2-19.

       Edward Marquez worked for Walgreens for 24 years (Id. 14:16-19) with 23.5 of those years

as assistant store manager (Id. 15:18-23). In 2011 and also in 2012 (Id. 25:5-8), Marquez put

rollers outside by the dumpster on two different times (Id. 23:10-13) after store manager Eric

Martinez called StoreCare and StoreCare instructed him to put the rollers out by the dumpster and

let them go as trash, without a ticket opened, and StoreCare said anyone can take the rollers. Id.

24:1-25.

       Walgreens’ assistant manager Marquez, aware of the policies and procedures at Walgreens,

testified that an employee would not be violating policies and procedures at Walgreens if they

went into the dumpster and picked up rollers that were disposed of by him. Id. 74:1-75:23. “It

was trash. That means we pushed it outside….so it was a free for all for anyone to take, whether

it was an employee or someone that came over from Mexico or somebody that just happened to

drive by. It was trash. It was discarded as trash. Anyone could take it.” Id. 74:19-75:11.

       Walgreens did not tell the assistant manager Marquez that Walgreens did not want any

employee at Walgreens to pick up the rollers from the dumpster. Id.

       Another time Marquez called StoreCare to dispose of a broken ladder and he was advised

by StoreCare to either open the ticket or we could just put the ladder outside and let someone take




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it and the store would not get charged. The Walgreens store obviously did not want to get charged,

so we just pushed it outside as trash. Id. 20:2-12.

          Ruben Alba was a store manager for Walgreens for years and he declared that Walgreens

in El Paso and Las Cruces has a practice of placing store fixtures, which have become trash, outside

their stores, near the trash bins. In all those years, Walgreens never told him such practice was

wrong. In all those years, he was never told not to engage in such practice. Ex. 15.

          No Walgreens employee was ever disciplined for this practice. Ex. 15.

          With the trash rollers the basis of this litigation, Villanueva did not tell Alba to open a

ticket for the removal of the trashed rollers. Ex. 15. With the trash rollers, Alba complied with

the protocol to place the trash rollers outside, near the trash receptacle. Ex. 15.

          Walgreens hired Yanez in 1999 as an assistant manager (Ex. 4 Dep. JY 18:7-9), promoted

him to assistant store manager about a year and half later (Id. 19:14-17), and in all those years

knew the policies of Walgreens for trash was there was no policy but to place trash outside the

store for anyone to remove (Id. 44:6-21), as that was what was normally done and it did not violate

policy (Id. 74:19-75:25; 200:9-201:4; 219:11-25). The store manager usually said leave it outside

and somebody will take it, and that was the practice ever since Yanez started working at

Walgreens. Id. 77:4-12. Leaving stuff outside so it can get removed is how it has always, always

been. Id. 88:17-25. “We never opened tickets on trash removal, never.” Id. 76:5-10. Stores are

not calling StoreCare, trash is left outside to be removed, all stores are doing it. “In my 21 years

– or 20 years with the company, we would never call StoreCare to remove trash. Never.” Id.

89:11-90:25. StoreCare was never called on trash removal. Id. 114:4-7. The practice is still being

done at stores in town. Id. 76:7-77:17. Everyone in the district to this day is still doing it. Id.

82:1-5.



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              b.       Walgreens promoted Villanueva and other older employees in El Paso
were discharged.

        Walgreens promoted Villanueva to district manager when he was 35 years old. Ex. 14

Dep. FV 12:15-17. He was a decision maker to discharge Alba. Id. 16:17-17:10. Alba is 61 years

old. Ex. 15. Villanueva replaced him with someone in their 30s. Ex. 14 Dep. FV 91:15-92:4.

The trend was older people being terminated. Ex. 11 Dep. EM 72-73; Ex. 4 Dep. JY 152:10-16;

153:1-9; 154:13-19; 181:18-19; 221:1-4. Alba filed an age complaint. Id. 30:19-23. And lawsuit

for age discrimination mentioning Villanueva. Id. 38:3-8; 39:1-5; 40: 4-18. See Alba v. Walgreen

Co., 3:21-cv-00164-DB. According to Villanueva, older store managers tend to tank it. Ex. 14

Dep. FV 41:1-5. Alba was replaced by someone younger, in their 30s. Id. 91:12-92:4.

              c.       The first purported basis in 2020 about the discharge of Yanez, about
exposure to liability, was not true, was false, and not believable because another policy of
Walgreens was to allow and require employees to transport Walgreens’ assets in their personal
vehicles and Walgreens did not care nor about them harming themselves in the transport.

        Villanueva admitted that it was protocol for Walgreens have their employees use their own

trucks to pick up stuff. Ex. 14 Dep. FV 81:13-16. Walgreens expected employees to use their

own trucks to pick up Walgreens tables and transport them from one store to another. Id. 82:6-

83:1.

        Villanueva himself several times transported tables and signage using his own car carrying

items sometimes by himself. Id. 88:4-20.

        Villanueva was not worried about liability and safety when employees were carrying tables

in their trucks and loading and unloading for Walgreens. Id. 85:1-5. Villanueva was not worried

about his back when he was carrying tables for Walgreens, and he was not worried about managers

carrying stuff on their backs. Villanueva was not worried about the other employees’ backs for

trash. Id. 105:3-16. Even though Walgreens admitted this was unsafe. Ex. 17 Dep. CB 33:8-34:3;



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37:1-5. Also, Birmaher admitted that she did not know if Villanueva (in his 30s) should be

reprimanded, maybe even fired for Villanueva engaging in the unsafe practices. Id. 35:20-23.

       Yanez did not believe he could injure his back nor was it dangerous to lift the trash. Ex. 4

Dep. JY 97:12-19.

       Walgreens purportedly singling out concern for Yanez transporting trash and hurting

himself is evidence of pretext because Walgreens did not have concern about all of its other

employees, including those in their 30s like Villanueva, transporting material or injuring

themselves of the public.

       Furthermore, Yanez was not within the course and scope of work when he removed the

trash so Walgreens could not have been exposed to liability. Yanez could not have injured others

because he was alone. The trash was no longer any responsibility of Walgreens. Yanez removed

the trash afterwork, alone. Ex. 4 JY 43:24; 45:10; 48:13. Additionally, the trash was no longer

Walgreens’ asset, and it does not protect trash Ex. 17 Dep. CB 33:8-11. Ex. 14 FV 110:8-19.

                d.    All of the shifting, vague, conclusory, and obscure explanations over the
years for the discharge of Yanez were not true, were false, and not believable because Walgreens
explicitly authorized Yanez to remove Walgreens’ trash pursuant to Walgreens’ policy in El
Paso that trash should be left outside for anyone to take.

       In 2020, Alba was the immediate supervisor of Yanez. Ex. 4 Dep. JY 23:17-19.

       In about the middle of April 2020 rollers at the store were damaged and broken so Alba

placed an order for new rollers. Id. 45:1-19. Yanez asked Alba what was to be done with the old

rollers and Alba responded that the old rollers were trash. Yanez asked Alba if he could have the

old rollers and Alba responded go ahead and take them. The old rollers were left outside. At the

end of the day Yanez punched out, went and grabbed them and put them in his truck. Id. 43:12-

25.




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       According to everyone involved, the old rollers were trash. Id. 44:6-21. Even Villanueva

admitted the rollers were trash. Ex. 14 Dep. FV 51:13-17. Villanueva testified that trash is waste

to be disposed of. Id. 52:18-19.

       Alba authorized Yanez to take the rollers home because the rollers were trash. Ex. 4 Dep.

JY 43:17-22. Alba offered the rollers to Yanez because the rollers were trash. Id. 48:1-16.

       The rollers were trash and “we just like we normally do, we just throw trash outside in our

dumpsters, and we throw them outside.” Id. 44:10-21. The rollers did not fit in the trash bin “[s]o

we just left them outside, like we normally do…” Id. 45:1-11. The rollers were left outside, so

somebody can take them. At the end of the day Yanez punched out, grabbed the trash and put the

trash in his truck. Id. 50:1-6. Yanez took them home. Id. 45:1-11.

       It was proper “to take these rollers and just throw them in the trash bin, per Walgreens’

policy” “because they are trash.” Id. 50:14-17.

               e.    All of the shifting, vague, conclusory, and obscure explanations over the
years for the discharge of Yanez by Villanueva were not true, were false, and not believable
because Villanueva was aware that Yanez was explicitly authorized to remove Walgreens’ trash.

       Villanueva admitted Yanez was given authority by his direct supervisor Alba to get the

rollers. Villanueva documented that Alba gave authorization for Yanez to pick up the rollers and

dispose of them with his own truck. Yanez had absolute authority. Yanez did not do anything he

was not authorized to do because he had authorization by his direct supervisor Alba. Ex. 14 Dep.

FV 56:10-57:3. Villanueva admitted that Yanez did not take possession of property when he did

not have authority because he did have authority by his immediate supervisor Alba. Id. 60:14-17.

       Villanueva admitted that Yanez should be able to rely on what his immediate supervisor

tells him. Id. 64:13-15. Villanueva admitted that Yanez rightfully relied on what Alba gave him

permission to do. Id. FV 65:2-5.



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       Villanueva admitted that Yanez should not be punished if the immediate supervisor is

unaware of a protocol. Id. 64:16-19.

               f.    The purported violations of any of the policies were not true, was false,
and not believable because Villanueva and Walgreens did not believe that Yanez engaged in
theft by Yanez removing Walgreens’ trash.

       Villanueva admitted that Yanez was not fired for taking the rollers. Id. 100:4-6. As

evidence above, Villanueva admitted that Yanez was authorized to possess the trash. Furthermore,

he did not call the police to make a report of theft involving Alba and/or Yanez and he could have

if he believed somebody is engaged in theft. Id. 55:11-17. Villanueva admitted that the rollers

were trash, to be disposed, to be thrown away as waste, to be removed. Id. 51:13-22.

       Walgreens’ asset protection manager (Ex. 17 dep CB 73:6-8) admitted that Yanez did not

take the rollers without authorization and confirmed that Yanez’s store manager authorized Yanez

to remove the rollers. Id. 30:4-31:3. She also admitted that Yanez did not steal the rollers. Id.

32:11-15.

               g.     The newly purported basis of 2022 about violation of a different waste
policy than the one practiced by Walgreens was not true, was false, and not believable because
at the time Yanez removed Walgreens’ trash, Walgreens had a trash control problem.

       Villanueva admitted that the trash “was out of control. It was something we were trying to

get fixed.” Ex. 14 Dep. FV 72:11-25. Villanueva admitted the trash was an issue and looked

pretty bad. Id. 70:6-22. Villanueva asked Alba to assist with trash issues to get picked up and to

get a dumpster in place which they were working on. Id. 73:1-4. The trash overflowing was pretty

unsafe. Id. 63:3-9. Villanueva admitted that Walgreens was having issues with pick-ups which is

why Walgreens was trying to get a dumpster for Alba. Id. 90:1-9.

       Discharging Yanez for alleviating a problem of Walgreens is evidence of pretext.




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               h.    All of the shifting, vague, conclusory, and obscure explanations over the
years for the discharge of Yanez by Villanueva were not true, were false, and not believable
because Villanueva was not upset Yanez removed Walgreens’ trash.

          Villanueva admitted that he was not upset, he did not ask for the trash/rollers back, he did

not want the rollers/trash back, and when he had them back, he would have to pay someone to

remove them. Ex. 14 Dep. FV 127:1-128:10.

               i.    All of the shifting, vague, conclusory, and obscure explanations over the
years for the discharge of Yanez by Villanueva were not true, were false, and not believable
because Villanueva and Walgreens did not care about putting the company at risk of liability
when Yanez returned the trash. Villanueva did not want the trash back and he and Walgreens
do not know nor care what Walgreens does with its trash.

          When Yanez offered to return the rollers to Walgreens Villanueva did not open up a ticket

nor have the company go to Yanez’s home to pick up the rollers that were trash. Ex. 17 Dep. CB

89:1-7.

          Villanueva did not ask for nor want the trash/rollers back after removed by Yanez. If he

had the trash back, payment would be necessary for removal. Ex. 14 Dep. FV 127:1-128:10.

          Walgreens’ director has no idea what is done with items picked up by StoreCare and he

does not care what they do with it. Ex. 12 Dep. RM 26:3-10.

                 j.      Villanueva discharged Yanez.

          One week before discharge, on May 20, Villanueva met with Yanez and asked him if the

rollers were being offered for sale and Yanez answered yes. Yanez asked if such was a problem

and advised that he could bring the rollers back. Yanez was asked to bring the rollers back and he

brought the rollers back the next day and that was the end of the conversation. Ex. 4 Dep. JY 57:6-

59:9. In this meeting, there was no discussion of large waste disposal. Id. The next day Yanez

emailed Villanueva that he brough the rollers back. Id.



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       Eight days later, May 28, Villanueva terminated Yanez. Id.

       The only communication Villanueva made to Yanez about discharge was his allegation

that Yanez “had put the company’s risk at liability.” Id. 56:21-57:3; 60:1-11. Villanueva did not

explain it to Yanez. Id. 60:19-20. Yanez did not put the company at liability. Id. 60:21-23.

               k.    All of the shifting, vague, conclusory, and obscure explanations over the
years for the discharge of Yanez by Villanueva were not true, were false, and not believable
because there was no documented reason for the discharge of Yanez.

       There was no documented reason for the termination of Yanez. Ex. 4 Dep. FV 120:22--

122:10; Ex. 17 Dep. CB 23:11-24:7.

               l.    All of the shifting, vague, conclusory, and obscure explanations over the
years for the discharge of Yanez by Villanueva were not true, were false, and not believable
because Villanueva and Walgreens did not care about the return of the trash by Yanez.

       Villanueva did not know that the trash/rollers were returned. Ex. 14 Dep. FV 57:1-22.

Villanueva did not know what was to be done with trash. Ex. 14 Dep. FV 51:20-25; 52:1-6.

Villanueva admitted that he does not know what Walgreens does with rollers. Id. 54:1-3; 54:7-11.

       Walgreens’ asset manager did not know what happened to the rollers nor look for the

rollers. Ex. 17 Dep. CB 90:19-23. She never asked Yanez to return the rollers/trash. Id. 91:1-3.

Romero admitted he did not know, and he did not care what happened the rollers. Ex. 12 Dep.

RM 26:6-10.

               m.     A motivating factor of the discharge of Yanez was his age.

       Walgreens’ assistant manager Marquez was asked why a good employee like Yanez would

be terminated for something that other employees did and there was not a violation of policy and

he testified that “it was their opportune moment to get rid of an older, higher-paid employee.” Ex.

11 Dep. EM 75:13-76:18.




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       In November 2020, Yanez, pro se, filed a claim with EEOC because he believed that

Walgreens discharged him because of his age. Doc. 20-15. Yanez filed his lawsuit on February

12, 2021. Doc. 1-5. It was discrimination because Yanez was authorized to take home the trash.

He did. The trash was at his home for over a month. Yanez was called about the trash. He

confirmed authorized possession and returned the trash, returned the trash and was fired. Ex. 4

Dep. JY 80:5-81:12. It was a little “BS” reason to come up with to fire Yanez, for a little thing,

something petty, just to get rid of Yanez. Id. 82:13-83:7; 200:9-25. The reasons given for

termination were false because Walgreens asked Yanez to transport other property in his truck. It

was a bogus excuse just to fire Yanez because of his age. Id. 114:8-116:4. Yanez was very

surprised he was terminated. Id. 117:20-21.

       Walgreens did not dispute Yanez’s unemployment claim. Ex. 4 Dep. JY 209:24-210:1.

               n.    All of the shifting, vague, conclusory, and obscure explanations over the
years for the discharge of Yanez by Villanueva were not true, were false, and not believable
because nearly two years after the discharge of Yanez, Villanueva contended for the first time
that he discharged Yanez for many more different reasons.

       As this Court is aware, shifting explanations demonstrates pretext. See Burns at 17.

       On January 6, 2022, Villanueva offered new and different reasons for his decision to

discharge Yanez in 2020. He testified that Yanez was not fired for taking the rollers, but he put

them on his truck, and he benefited from a company asset. Ex. 14 Dep. FV 100:4-14.

       As evidenced above in section II.B.3.c., the 2022 explanation for the discharge of Yanez

in 2020 for Yanez removing the trash in his truck was pretext.

       There is substantial evidence that the third explanation lodged for the first time in 2022

about Yanez benefiting from a company asset was pretext. Walgreens’ asset control manager

admitted that once the rollers are picked up, trash to be disposed of, they are no longer an asset of

Walgreens. Ex. 17 Dep. CB 33:8-11. Walgreens does not protect Walgreens’ trash. Id. 89:12-

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24. Villanueva admitted that he did not know if Yanez was gaining anything, and he did not know

if the rollers had no more value to Walgreens. He did know that the rollers were not to be sold or

used by Walgreens. Id. 103:5-14. He admitted that if something gets thrown and its trash then

somebody else picks it up and does something with it, builds it or repairs it and adds work to it,

that individual has the right to get paid for his work. Id. 103:15-20. As evidence above in section

II.B.l. Walgreens did not know nor care about the rollers.

       On January 6, 2022, for the first time, Villanueva contended that Yanez should have opened

a ticket because these rollers were not to disposed as any other trash, these rollers were special

trash with VIP status. FV 102:5-15. However, this new explanation was pretextual as evidenced

above in section II.B.c.a. as it was not and is not the practiced policy of Walgreens in El Paso to

open up a ticket for the removal of trash and rollers. Additionally, Alba had put in a ticket for

emergency cleanup of the trash one week before, but that ticket was cancelled on May 28, 2020.

Ex. 15. Also, Alba was never told by Villanueva that he was supposed to open a ticket for removal

of the rollers which became trash. Ex. 15.

       Furthermore, Villanueva testified that the rollers were still trash that was still supposed to

be disposed of and whether the rollers were picked up by company A, B, or C, it was still trash.

Id. 102:24-4. He did not ask for the rollers to be repaired, but to be disposed of because they were

unsafe. Id. 76:21-77:3. He had not seen any definition of the word company assets that includes

trash for disposal. Id. 110:8-19. He does not list trash in his home as an asset. id. 110:24-111:1.

He does not know where the rollers are, nor did he ask for them back. Id. 57:15-22.

       On February 18, 2022, through a declaration, Villanueva offered for the first time,

additional and different reasons for his decision to discharge Yanez in 2020. For the first time,

nearly two years after the discharge, was an allegation made that Yanez violated specific policies,



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Waste Disposal Policy, Standard of Conduct Policy, and Team Member Safety and Health Policy.

Doc. 20-2 p. 4. However, this new explanation was pretextual as evidenced above in section

II.B.c.a. Additionally, on January 6, 2022, the day before the deposition of Villanueva, for the

first time, Walgreens served the Waste Disposal Policy and Standard of Conduct Policy (Doc. 20-

3). See e.g., Ex. 14 Dep. FV 22:24-23:1.

               o.     The first time February 2022 purported basis of the violation of the other
waste policy was not true, was false, and not believable because Villanueva was not aware of
this other waste disposal policy until February 2022.

       Prior to his declaration in February 2022, Villanueva was not aware of the newly referenced

other waste disposal policy. As of January 2022, Villanueva admitted that: he did not know if it

was a part of Walgreens’ policy (Id. 23:4-14); he had not seen it like anywhere in employee

handbooks, (Id. 23:11-14); he has not seen an employee handbook of Walgreens (Id. 21:12-15);

and he did not see acknowledgment signed by Yanez (Id. 22:15). Villanueva testified that he did

not know if Yanez was ever given a copy (Id. 24:15-20) or if Yanez ever saw it (Id. 25:1) or if

Yanez signed it (Id. 25:6).

               p.     The newly purported explanations of February 2022 were not true, were
false, and not believable because Villanueva could not have discharged Yanez in 2020 as
Villanueva claimed differently for the first time in February 2022 because the conduct of Yanez
in removing Walgreens’ trash with the express consent of Walgreens would not violate the
policies newly claimed to be violated.

       These newly purported explanations were pretextual as evidenced above in section II.B.c.a.

       Moreover, even before these newly purported reasons lodged nearly two years after

discharge, Villanueva’s testimony evidenced there were not violations of the specific policies.

       On January 7, 2022, Villanueva was asked if Yanez violated any of the non-exhaustive list

of conduct that would justify immediate termination (Doc. 20-5 p. 3) and Villanueva testified not

to his knowledge or no to the following: (Ex. 14 Dep. FV 33:9-11 (falsification); Id. 33:17-19



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(violence); Id. 34:7-10 (destruction of company property); Id. 49:7-10 (fraternization policy); Id.

49:13-17 (sleeping on the job); Id. 56:10-57:3, FV 60:14-17 (unauthorized possession or removal

of property); Id. 60:18-20 (unauthorized use of telephones); and Id. 60:21-23 (violating safety

rules).

          When questioned about theft of company property, Villanueva conceded that the rollers

were trash to be disposed of and thrown away as waste. Id. 51:13-19. Villanueva admitted that

theft of trash and theft of waste are not on the list of conduct that would justify immediate

termination. Id. 54:21-25. Villanueva admitted that theft of trash to be disposed was also not on

the list that would justify immediate termination. Id. 55:1-3. Villanueva admitted he saw no

document finding Yanez guilty of theft. Id. 55:7-10. He did not call the police and he could if he

believed somebody was engaged in theft. Id. 55:11-17.

          Furthermore, Villanueva offered no specification of how the policies were allegedly

violated, but only shifting conclusory assertions of violations.

          Second, even retroactively applying these newly asserted policies to Yanez removing the

trash of Walgreens with explicit authorization, there was still no violation. Regarding the waste

disposal policy, removal of trash was not prohibited by nor a violation of the asserted policies and

not a terminable offense. See Doc. 20-3. The policy was one of best practices. Id. p. 3. There

was compliance with the policy, the trash rollers were not placed in the compactor. Doc. 20-3, p.

5.

          Regarding the Standard of Conduct, removal of trash was not prohibited by nor a violation

of the asserted policies and not a terminable offense. See Docs. 20-5. Even before Villanueva

claimed for the first time in February 2022 that Yanez violated this policy, Villanueva was asked

about it and he admitted that there were no violations as shown above in section II.B.C.n.



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       Regarding the Team Member Safety and Health Policy, removal of trash was not prohibited

by nor a violation of the asserted policies and not a terminable offense. See Docs. 20-4. On

January 7, 2022, Villanueva testified that Yanez was not found guilty of violating safety rules. Id.

60:21-23. Walgreens’ asset protection manager admitted that there are no policies or procedures

for safety in the removal of trash. Ex. 17 Dep. CB 18:17-18. And again, as evidenced above in

section II.B.3.c., this explanation was pretext, as Walgreens and Villanueva did not care about all

of its other employees hurting themselves or the public in transporting for Walgreens in their

personal vehicles.

               q.    All of the shifting, vague, conclusory, and obscure explanations over the
years for the discharge of Yanez by Villanueva were not true, were false, and not believable
because all of them were vague and conclusory.

       4.     All of the shifting, vague, conclusory, and obscure explanations over the years
for the discharge of Yanez by Villanueva were not true, were false, and not believable
because Walgreens’ stated reasons are implausible or do not make sense.

       When an employer claims to have made a decision for a reason that does not seem to make

sense, a factfinder may infer that the employer’s asserted reason for its action is a pretext for

unlawful discrimination.” Young v. United Parcel Serv., Inc., 135 S. Ct. 1338, 1356, 191 L. Ed.

2d 279 (2015); Stalter v. Wal-Mart, 195 F.3d 285 (7th Cir. 1999) “the employer’s stated reason

for the termination – that it fired the plaintiff for eating a few handfuls of some other employee's

chips “does not pass the straight-face test" and "strikes us a swatting a fly with a sledge hammer.””

       5.     All of the shifting, vague, conclusory, and obscure explanations over the years
for the discharge of Yanez by Villanueva were not true, were false, and not believable
because Walgreens failed to follow its own policies as typically applied.

       An employee may show that the reasons offered for her termination are false and pretextual

by evidence that the employer failed to follow its own policies, practices and protocols. Burton v.

Freescale Semiconductor, Inc., 798 F.3d 222, 239 (5th Cir. 2015) (failure to follow procedures



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and produce contemporaneous written documentation of performance problems is evidence of

pretext); Tyler v. Union Oil of California, 304 F.3d 379, 398 (5th Cir. 2002) (employer’s departure

from usual policies and procedures may support an inference of discrimination).

               a.      Walgreens’ failure to follow its typical practice and policy to allow
employees to dispose of Walgreens’ trash as done by Yanez, but Walgreens’ selective application
of the other waste disposal policy to Yanez is evidence of pretext.

       An employer's selective application of a facially neutral policy is evidence of pretext.

E.E.O.C. v. Louisiana Office of Community Services, 47 F.3d 1438, 1445-46 (5th Cir. 1995). An

inference of pretext may be drawn based on evidence that an employer's relevant rules and

standards "were not consistently applied." Lyons v. Tex. Dep't of Criminal Justice, No. 13-20543,

4 (5th Cir. 2014).

       From 2010 until present day, the policy was to place trash outside the store for anyone to

take. Now, Villanueva sought to apply a different policy to Yanez, even knowing that there was

a difference between policies and practices, you can have policies in the book and have practices

very different from policies. Ex. 14 Dep. FV 87:8-14.

              b.      Walgreens’ failure to follow its progressive discipline policy in the
discharge of Yanez is evidence of pretext.

       Evidence of the employer’s failure to follow its progressive discipline policy is evidence

of pretext. Cristain v. Hunter Buildings & Manufacturing, L.P., 908 F.3d 962 (5th Cir. 2018).

       Walgreens Standards of Conduct Policy Statement expresses Walgreens’ progressive

disciplinary policy. Doc. 20-5 p. 3. Walgreens violated this policy by discharging Yanez. See Id.

Other than the situation with the rollers/trash, there was no other reason Yanez was fired. Ex. 14

Dep. FV 32:7-19; 119:22-120:1. Villanueva received no complaints involving Yanez. Id. 29:9-

12. Villanueva testified that he was unaware of prior discipline. Id. 120:1-8. Villanueva admitted

that the policy of Walgreens was that “In most instances a team member should not be terminated

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for a single misdeed or failure to work up to standard.” Id. 30:18-23. Walgreens could have done

it in a different manner, by starting with the progressive write-ups or warned Yanez, but they found

something petty, something little just to get rid of Yanez. Ex. 4 82:16-83:7.

       6.     All of the shifting, vague, conclusory, and obscure explanations over the years
for the discharge of Yanez by Villanueva were not true, were false, and not believable
because Walgreens employed Yanez for 21 years and in those 21 years there was only slightly
minor discipline.

       The Fifth Circuit in Salazar v. Cargill Meat Sols. Corp., 628 F. App'x 241, 245-46 (5th

Cir. 2015) also held that the plaintiff who had worked for the employer for more than twenty years

without a single disciplinary incident raised issue of pretext and age discrimination when he was

terminated without warning and replaced by a younger employee.

C.    Walgreens’ straw man arguments were futile because its motion failed as a matter of
law and were also improper.

       Walgreens’ Motion already failed for Walgreens’ failure to satisfy sufficiently its burden

to articulate a legitimate, non-discriminatory or non-retaliatory reason for its decision to terminate

Yanez. Walgreens’ Motion failed again because there is substantial evidence of pretext. Pursuant

to the burden shifting analysis, Yanez defeated Walgreens’ Motion as a matter of law. Walgreens’

arguments are futile and pointless because by satisfying the burden shifting analysis Yanez

“pretermits” summary judgment, leaving the ultimate question of discriminatory animus to be

determined by the trial of fact.

       Walgreens creating its own arguments about pretext was also improper because Yanez was

not “not limited to presenting evidence of a certain type,”; pretext evidence “may take a variety of

forms.”; and all evidence is considered in the light most favorable to Yanez, not as chosen and

recast by Walgreens.

       Moreover, Walgreens’ futile arguments still failed.



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       Walgreens’ Motion argument section II.B.1. was already rejected by the United States

Supreme Court. See McDonnell Douglas Corp. at 804.

       Walgreens’ Motion argument section II.B.1.a. also failed and Villanueva’s disputed good

faith belief was not proper because Villanueva alone made the shifting determinations Yanez

purportedly violated policies without relying upon purported violations alleged by others.

       Walgreens’ Motion argument section II.B.1.b. also failed and was also fallacious because

Yanez has no obligation to evidence compliance with Walgreens’ policies, even though he did as

evidenced above in section II.B.A. If Walgreens disputes Yanez’s compliance, Walgreens further

creates additional disputes of material fact further prohibiting summary judgment.

       Walgreens’ Motion argument section II.B.2. also failed and was also fallacious because

Yanez was not required to show disparate treatment as compared to any similarly situated

employee outside of his protected class to substantially evidence pretext. Disparate treatment is

only one form of evidencing pretext, not a required form of evidence of pretext.

       Similarly, Walgreens’ Motion argument of II.B.3. also failed and was also fallacious

because Yanez discredited the basis for his termination by the substantial evidence of pretext

defeating Walgreens’ Motion as a matter of law. Yanez was not required to show Villanueva

applied policies more favorably for younger employees.

       Walgreens’ Motion argument of II.B.3.a. also failed and was fallacious because Walgreens

solely relied upon an unpublished opinion from the Sixth Circuit Court of Appeals that is

nonbinding and was also was improper considering that the Fifth Circuit Court of Appeals

indicated that the failure to produce contemporaneous written documentation is evidence of

pretext. See Burton at 239.




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       Walgreens’ Motion argument of II.B.3.b. also failed and was also fallacious as shown

above in the section II.B.5.b.

       Walgreens’ Motion argument of II.B.3.c. also failed and was also fallacious because

Walgreens’ prior acts of discrimination are "'quite probative'" of the question whether current

conduct is discriminatory. See Bazemore v. Friday, 478 U.S. 385, 402 n.13 (1986).

                                             Prayer

       For these reasons, Plaintiff asks the Court to uphold his Constitutional Rights to a Jury

Trial by denying Defendant’s motion and for such other relief to which he may be justly entitled

at law and equity.                   Respectfully submitted,


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                                 CERTIFICATE OF SERVICE

      I certify that I electronically filed the foregoing with the clerk using the CM/ECF system,
which will send notification of such filing to all counsel.

                                     /s/ Brett Duke
                                     Brett Duke

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